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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

  CAMELART LIMITED,                                   Case No.: 20-cv-7707

                   Plaintiff,                         Hon. Thomas M. Durkin

            v.

  STONEX GROUP INC. f/k/a
  INTL FCSTONE FINANCIAL, INC.

                          Defendant.


     AGREED MOTION FOR EXTENSION OF TIME TO ANSWER COMPLAINT

       Defendant StoneX Group Inc. (“StoneX”), through its undersigned counsel, respectfully

moves this Court for an extension of time, up to and including February 10, 2021, to answer the

Complaint. In support of its motion, StoneX states as follows:

       1.        StoneX was served with the summons and Complaint on December 30, 2020.

StoneX’s answer to the Complaint is currently due on January 20, 2021.

       2.        By this Motion, StoneX respectfully requests a 21-day extension of time, up to and

including February 10, 2021, to answer the Complaint.

       3.        StoneX requests additional time to answer the Complaint because it was served just

before the New Year, and StoneX’s counsel needs additional time to evaluate and investigate

Plaintiff’s claims and prepare an answer.

       4.        StoneX has not requested any previous extension of time to file its answer.

       5.        Counsel for StoneX has consulted with counsel for Plaintiff, who has agreed to the

requested extension of time.
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       WHEREFORE, for the foregoing reasons, StoneX respectfully requests that this Court

enter an order granting it an extension of time up to and including February 10, 2021 to answer

the Complaint.



 Dated: January 15, 2021                         Respectfully submitted,


                                                 By: /s/ Hannah O. Koesterer
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                                                 Hannah O. Koesterer
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